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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                TALLAHASSEE DIVISION


RUSSELL WERLEY,

       Petitioner,
v.                                                               CASE NO. 4:04-cv-00518-MP-AK

JAMES CROSBY, JR.,

      Respondent.
___________________________/

                                             ORDER

       This matter is before the Court on Doc. 12, Motion to Dismiss, filed by Russell Werley,

which the Clerk docketed as a reply. In this motion, Petitioner seeks dismissal of any response

filed by Respondent on the ground that it would be untimely. Id. He also requests that the Court

grant his habeas corpus petition for Respondent’s failure to respond timely. Id.

       Pursuant to the Court’s order, Respondent was ordered to file a response no later than

April 22, 2005. The docket reflects that the response was filed on April 14, 2005. Thus, the

response was timely, and dismissal of the response is not warranted.

       It appears to the Court that Petitioner did not receive a copy of the response, although the

certificate of service reflects that it was mailed to him at the appropriate address. To allow

Petitioner an opportunity to review the response, which seeks dismissal based on timeliness, the

Court will direct Respondent to furnish him with another copy of the response and the

attachment by certified mail, return receipt requested, or by some other traceable means of

mailing so that there will be no question as to Petitioner’s receipt of the documents. The Court

will also extend the time for Petitioner to file a reply to the response.
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        Accordingly, it is ORDERED:

        That the clerk shall redocket Doc. 12 as a “Motion to Dismiss”;

        That the motion to dismiss, Doc. 12, is DENIED;

        That, no later than May 24, 2005, Respondent shall furnish by certified mail, return

receipt requested, or by some traceable means of mailing, a copy Doc. 11 with attachment;

        That Petitioner may file his reply to the response no later than June 24, 2005.

        DONE AND ORDERED this 10th              day of May, 2005.


                                       s/ A. KORNBLUM
                                      ALLAN KORNBLUM
                                      UNITED STATES MAGISTRATE JUDGE




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